   Case 1:23-cv-02904-SEG Document 2-1 Filed 06/29/23 Page 1 of 30




           IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION

EMMA KOE, individually and on
behalf of her minor daughter, AMY
KOE; HAILEY MOE, individually
and on behalf of her minor daughter,
TORI MOE; PAUL VOE; ANNA
ZOE, individually and on behalf of         CIVIL ACTION NO.
her minor daughter, LISA ZOE;
TRANSPARENT, on behalf of its
members,

                       Plaintiffs,

            v.

CAYLEE NOGGLE, in her official
capacity as Commissioner of the
Georgia Department of Community
Health; GEORGIA DEPARTMENT
OF COMMUNITY HEALTH’S
BOARD OF COMMUNITY
HEALTH; NORMAN BOYD,
ROBERT S. COWLES III, DAVID
CREWS, RUSSELL
CRUTCHFIELD, ROGER
FOLSOM, NELVA LEE, MARK
SHANE MOBLEY, CYNTHIA
RUCKER, ANTHONY
WILLIAMSON, in their official
capacities as members of the Georgia
Department of Community Health’s
Board of Community Health; THE
GEORGIA COMPOSITE MEDICAL
BOARD; JOHN S. ANTALIS,
    Case 1:23-cv-02904-SEG Document 2-1 Filed 06/29/23 Page 2 of 30




SUBRAHMANYA BHAT,
WILLIAM BOSTOCK, KATHRYN
CHEEK, RUTHIE CRIDER, DEBI
DALTON, CHARMAINE
FAUCHER, AUSTIN FLINT,
SREENIVASULU GANGASANI,
JUDY GARDNER, ALEXANDER S.
GROSS, CHARLES E. HARRIS,
JR., J. JEFFREY MARSHALL,
MATTHEW W. NORMAN, BARBY
J. SIMMONS, in their official
capacities as members of the Georgia
Composite Medical Board; DANIEL
DORSEY, in his official capacity as
the Executive Director of the Georgia
Composite Medical Board,

                     Defendants.
         Case 1:23-cv-02904-SEG Document 2-1 Filed 06/29/23 Page 3 of 30




   MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION FOR
TEMPORARY RESTRAINING ORDER & PRELIMINARY INJUNCTION

I.      INTRODUCTION

        Plaintiffs are parents, their transgender children, and a community-based

support organization for parents of transgender individuals. 1 They file this

challenge because Georgia Senate Bill 140 (“S.B. 140,” the “Health Care Ban,” or

the “Ban”), which bans safe, effective, and necessary medical treatment for

transgender minors, is unconstitutional. The Ban infringes parents’ fundamental

right to make medical decisions in the best interests of their children, and it singles

out transgender minors for the denial of essential medical care, contrary to the Due

Process and Equal Protection Clauses of the Fourteenth Amendment.

        S.B. 140 takes effect July 1, 2023. Absent any injunctive relief, Plaintiffs

will suffer immediate and irreparable harms for which there is no adequate remedy

at law. Because of the Ban, Parent Plaintiffs will be unable to obtain necessary and

time-sensitive medical care for their transgender children, and Minor Plaintiffs will

be unable to receive the treatment they need. In line with multiple recent

decisions—two in this Circuit and four in three sister Circuits—addressing similar




1
    Parent and Minor Plaintiffs separately move to proceed under pseudonyms.

                                            1
       Case 1:23-cv-02904-SEG Document 2-1 Filed 06/29/23 Page 4 of 30




bans, 2 this Court should enjoin Defendants from enforcing S.B. 140 while this

lawsuit is pending. 3

II.   STATEMENT OF FACTS

      A.     The Ban Prohibits Parent Plaintiffs and TransParent’s Members
             from Making Critical Medical Decisions for Their Children.

             1.     Parent and Minor Plaintiffs

      Amy Koe is a 12-year-old transgender girl who lives in Atlanta, Georgia,

with her mother, Emma Koe, her father, and her sister. See Declaration of Emma

Koe (“Koe Decl.”) ¶ 3. At age 7, Amy began to persistently express that she was

female and started to socially transition; she adopted a girl’s hairstyle, clothing,

pronouns, and name. Id. ¶¶ 7, 12. Amy’s mental health has improved dramatically

since socially transitioning; she has gained confidence, come into her own, and

resolved sleeping issues. Id. ¶¶ 12–14, 21. Amy has been diagnosed with gender

dysphoria, and has received care from a team of health care providers, including a


2
  See Brandt v. Rutledge, 551 F. Supp. 3d 882 (E.D. Ark. 2021), aff’d 47 F.4th 661
(8th Cir. 2022); Eknes-Tucker v. Marshall, 603 F. Supp. 3d 1131 (M.D. Ala.
2022), appeal docketed, No. 22-11707 (11th Cir. May 18, 2022); Doe v. Ladapo,
2023 WL 3833848 (N.D. Fla. June 6, 2023); K.C. v. Med. Licensing Bd. of Ind.,
2023 WL 2895628 (S.D. Ind. June 16 2023); Memorandum Opinion and Order,
Doe v. Thornbury, No. 3:23-cv-00230 (W.D. Ky. June 28, 2023) (ECF No. 61)
(“Kentucky Order”); Memorandum Opinion, L.W. v. Skrmetti, No. 3:23-cv-00376
(M.D. Tenn. June 28, 2023) (ECF No. 167) (“Tennessee Order”).
3
  Because Plaintiffs are not seeking surgical procedures, this challenge is limited to
S.B. 140’s prohibition on “[h]ormone replacement techniques,” S.B. 140 § 2(a)(2).

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       Case 1:23-cv-02904-SEG Document 2-1 Filed 06/29/23 Page 5 of 30




psychologist, psychiatrist, pediatrician, and pediatric endocrinologist. Id.¶¶ 14, 15.

Amy has begun puberty-blocking medication at the direction of her providers. Id.

¶ 16. Without these medications, Amy would undergo puberty and her body would

develop in ways that are inconsistent with her gender identity. Id. ¶ 17.

      Amy’s providers continue to monitor her treatment and, together with Amy

and her parents, have concluded it will be medically necessary for her to receive

hormone therapy. Id. ¶ 17. The Ban will prevent Amy from obtaining this

treatment, which will have devastating physical and psychological consequences.

Id. The Ban will also deprive Amy’s mother, Emma, of the ability to pursue the

safe and effective course of medical care that her daughter needs. Id. ¶¶ 20, 22.

      Tori Moe is a 12-year-old transgender girl who lives with her mother, Hailey

Moe, her father, and her two brothers in Atlanta, Georgia. See Declaration of

Hailey Moe (“Moe Decl.”) ¶ 3. Tori started dressing as a girl on occasion as early

as four years old, and was happier dressing in “girls’” clothing. Id. 4. Tori came

out as transgender soon after the family moved from Florida to Georgia in January

2021, telling her parents that she is a girl, and that she wanted to go to school as a

girl. Id. ¶¶ 9–10. Tori began using she/her pronouns at this time. Id. ¶ 6. Tori has

been seeing a therapist for the past eight months, and during that time was

diagnosed with gender dysphoria. Id. ¶ 11. In January 2023, Tori’s pediatrician and


                                           3
       Case 1:23-cv-02904-SEG Document 2-1 Filed 06/29/23 Page 6 of 30




pediatric endocrinologist prescribed puberty-blocking medication; she has taken

two doses so far. Id. ¶ 12. Hormone therapy is the next step in Tori’s recommended

treatment plan and is expected to be necessary in the near future. Id. ¶¶ 13, 14. If

the Ban takes effect, Tori will be denied the appropriate medical care she needs

and the Moe family will be forced to consider moving to another state. Id. ¶ 14.

      Mia Voe is an 11-year-old transgender girl who lives with her father, Paul

Voe, and her brother, in Athens, Georgia. See Declaration of Paul Voe (“Voe

Decl.”) ¶¶ 4–5. Mia has known she was a girl since pre-kindergarten; she would

regularly declare, “I’m a girl” and has exclusively worn “girls’” clothing since she

was around 5 years old. Id. ¶¶ 9–11. Mia began using a female name around age 7.

Id. ¶ 15. Two years later, and after she never wavered in usage, Mia legally

changed her name. Id. Mia has been seeing a psychologist for the past three years

and during that time was diagnosed with gender dysphoria. Id. ¶ 17. Her pediatric

endocrinologist is monitoring her hormone levels, and her health care providers, in

consultation with Mia and her parents, have determined that the appropriate

treatment plan will include starting Mia on puberty-blocking medication, followed

by hormone therapy, when the time is right. Id. ¶ 16. If not enjoined, the Ban will

prevent the Voe family from accessing this necessary treatment recommended for

Mia’s gender dysphoria.


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       Case 1:23-cv-02904-SEG Document 2-1 Filed 06/29/23 Page 7 of 30




      Lisa Zoe is a 10-year-old transgender girl who lives with her parents, Anna

and Scott Zoe, and her sibling, in Atlanta, Georgia. See Declaration of Anna Zoe

(“Zoe Decl.”) ¶¶ 3–4. Lisa has been transgender essentially her whole life. Id. ¶ 6.

She started wearing dresses at two, and socially transitioned around six. Id. ¶¶ 6,

10–14. Shortly thereafter, her pediatric endocrinologist diagnosed Lisa with gender

dysphoria. Id. ¶ 14. Lisa’s pediatrician also diagnosed her with gender dysphoria in

February 2023. Id. Because Lisa has not started puberty yet, she has not begun

puberty-blocking medication. Id. ¶ 18. Her pediatric endocrinologist is monitoring

her hormone levels to determine when puberty-blocking medication will be

appropriate, after which she will undergo hormone therapy based on the

recommendation of her providers in consultation with Lisa and her parents. Id. ¶¶

18–19. If the Ban takes effect, this medically necessary treatment will not be an

option for Lisa. Id. ¶ 19. Unless the Ban is enjoined, the Zoe family are strongly

considering moving to another state or leaving the country to ensure they can

access the medical care Lisa needs. Id. ¶¶ 22–23.

             2.    TransParent

      TransParent is a community-based organization that serves parents and

caregivers of transgender and gender-expansive children. See Declaration of Susan

Halla (“Halla Decl.”) ¶¶ 2–4. Founded in 2011, TransParent now has 19 local



                                          5
       Case 1:23-cv-02904-SEG Document 2-1 Filed 06/29/23 Page 8 of 30




chapters in 11 states, including Georgia. Id. ¶ 11. TransParent’s mission is to bring

compassionate support to parents and caregivers navigating complex issues faced

by their transgender and gender-expansive children. Id. ¶ 2. TransParent facilitates

confidential, peer-led group meetings that provide support, connection, and

resources to members, including connecting families of transgender children to

practitioners who provide gender-affirming medical care. Id. ¶¶ 3–5.

      The interests at stake in this litigation are germane to TransParent’s mission.

See id. ¶¶ 12–14. If the Ban takes effect, TransParent members will lose the right

to pursue safe and effective gender-affirming medical care for their children. Id.

¶¶ 12–13. For example, TransParent member and Georgia resident Rita Soe has a

15-year-old transgender son, Brent Soe. Declaration of Rita Soe (“Soe Decl.”) ¶ 6.

Shortly after Brent reached puberty, his body began to develop in ways

inconsistent with his sense of self—causing significant distress. Id. ¶ 8. Last year, a

psychologist diagnosed Brent with gender dysphoria. Id. ¶¶ 10, 15. Brent has since

informed his parents, brother, and classmates about his male gender identity and

has socially transitioned—which has dramatically improved his mental health. Id.

¶¶ 10–14, 23. Brent’s health care providers continue to monitor his treatment and

have concluded, together with Brent and his mother Rita, that he will need to begin




                                          6
       Case 1:23-cv-02904-SEG Document 2-1 Filed 06/29/23 Page 9 of 30




hormone therapy soon. Id. ¶¶ 15–17. The Ban will deprive the Soe family of the

ability to pursue this necessary medical care for Brent. Id. ¶¶ 19–22, 25–26.

      B.     Gender-Affirming Medical Care Is the Safe and Established
             Course of Treatment for Gender Dysphoria in Minors.

      “Gender identity” refers to a person’s internal, innate, and immutable sense

of belonging to a particular gender. Declaration of Dr. Daniel Shumer (“Shumer

Decl.”) ¶ 25; Declaration of Dr. Ren Massey (“Massey Decl.”) ¶¶ 17–18, 21.

Although the exact factors influencing an individual’s gender identity are

unknown, medical consensus indicates that there is a significant biological

component. See Shumer Decl. ¶¶ 25; Massey Decl. ¶ 20.

      Everyone has a gender identity. For most, that identity coincides with their

“natal sex” (i.e., the sex that was assigned to them at birth based on their external

genitalia). For transgender children, their gender identity departs from their natal

sex. Shumer Decl. ¶ 25; Massey Decl. ¶ 17. This can lead to a serious medical

condition called gender dysphoria, a diagnosis that describes the clinical physical

and mental distress a transgender person experiences as a result of the conflict

between their natal sex and gender identity. Shumer Decl. ¶ 37; Massey Decl.

¶¶ 22–23. Diagnosing “gender dysphoria” requires a marked incongruence

between a person’s gender identity and their natal sex that has persisted for at least

six months. Shumer Decl. ¶¶ 35–37. The incongruence must also be accompanied

                                           7
      Case 1:23-cv-02904-SEG Document 2-1 Filed 06/29/23 Page 10 of 30




by clinically significant distress or impairment in social, occupational, or other

important areas of functioning. Shumer Decl. ¶ 37. Left untreated, gender

dysphoria can cause a number of discrete harms, including anxiety, depression,

self-harm, and suicidal ideations. Shumer Decl. ¶ 42; Massey Decl. ¶ 50.

      There is a safe and established course of medical treatment for gender

dysphoria that allows transgender individuals to live happy, healthy, and

productive lives. See Shumer Decl. ¶¶ 33, 79, 93; Massey Decl. ¶ 24. The standard

of care lays out a highly individualized and interdisciplinary treatment plan for

minors. Shumer Decl. ¶ 40, 77; Massey Decl. ¶¶ 37–42. First, a minor undergoes

an extensive health evaluation by endocrinologists, pediatricians, clinical

psychologists, and other qualified providers to confirm the diagnosis. See Shumer

Decl. ¶¶ 44; Massey Decl. ¶ 41–43. Should the physicians, parents, and child agree

to pursue gender-affirming care, providers undertake a rigorous informed consent

process to counsel the family about what the care will entail. Shumer Decl. ¶¶ 41,

64, 71, 75; Massey Decl. ¶ 42.

      Once the family and physician are ready to move forward with transition,

they usually pursue two paths: social transition and medical intervention. Shumer

Decl. ¶ 59; Massey Decl. ¶¶ 26–28. When a child socially transitions, they start to

present themselves to the public as their gender identity, which may include


                                          8
       Case 1:23-cv-02904-SEG Document 2-1 Filed 06/29/23 Page 11 of 30




changing their pronouns, altering their physical appearance, and correcting identity

documents. Shumer Decl. ¶ 46; Massey ¶ 26. This is often accompanied by

ongoing supportive therapy. Shumer Decl. ¶ 46.

      Medical interventions may be pursued either concurrently with or after

social transition. Id. ¶¶ 59, 56–57; Massey Decl. ¶¶ 26–27. For children at or near

the onset of puberty, puberty-blocking medication is the first step. Shumer Decl. ¶

47; Massey Decl. ¶ 27. These medications delay the onset or continuation of

puberty and reduce the development of secondary sex characteristics that are

inconsistent with the patient’s gender identity. Shumer Decl. ¶¶ 62, 65; Massey

Decl. ¶ 27.

      Puberty-blocking medications alone are not a long-term solution for treating

gender dysphoria. Rather, they are almost always prescribed as a short-term,

temporary first step in a series of interventions including hormone therapy. Shumer

¶ 79, 97. This is in part because long-term use of these medications can increase

the risk of lower bone mineral density and vitamin D deficiency. Id. ¶ 82. But it is

also because puberty-blocking medications are intended to be a bridge to the next

treatment phase. Id. ¶ 79, 97. If, after a set time, the patient’s gender dysphoria

desists (which is rare), they go off puberty-blocking medications and their body

continues to undergo puberty consistent with their natal sex. Id. ¶97. In the more


                                           9
      Case 1:23-cv-02904-SEG Document 2-1 Filed 06/29/23 Page 12 of 30




common scenario, a patient’s gender dysphoria persists and hormone therapy is

medically necessary. Id. ¶ 35, 97.

      Hormone therapy may be prescribed following puberty-blocking medication

or natal puberty. Id. ¶ 54, 89; Massey Decl. ¶ 28. The benefit of hormone therapy is

that it allows a transgender minor to have the same typical levels of

testosterone/estrogen as a non-transgender peer. Shumer Decl. ¶¶ 54, 76. Before a

physician will begin this phase of treatment, a mental health professional must

confirm the persistence of gender dysphoria, evaluate any coexisting medical

problems, confirm those conditions are stable enough to initiate hormones, and

verify that the minor is capable of understanding the consequences of the

treatment. Shumer Decl. ¶¶ 75–76; Massey Decl. ¶ 41. A pediatric endocrinologist

or other medical doctor must also carefully monitor treatment. Shumer Decl. ¶ 89.

      This thorough and established standard of care for treating gender dysphoria

in minors was developed by the World Professional Association for Transgender

Health, which represents an expert consensus based on the best available science

on transgender health care. Shumer Decl. ¶¶ 40, 48–50; Massey Decl. ¶ 8. The




                                         10
      Case 1:23-cv-02904-SEG Document 2-1 Filed 06/29/23 Page 13 of 30




standard has been endorsed and followed by every relevant expert industry

association. 4 See Shumer Decl. ¶ 56.

      Moreover, the standard was established through rigorous study, is

continuously monitored, and is highly effective. Shumer Decl. ¶¶ 48–53, 79;

Massey Decl. ¶¶ 30-35. Studies consistently demonstrate the positive results of

gender-affirming care for minors, including reductions in gender dysphoria,

improved psychological functioning, and reduced rates of depression and

suicidality. Shumer Decl. ¶¶ 34, 87; Massey Decl. ¶ 31–33. In contrast, clinical

experience shows that untreated gender dysphoria can result in severe anxiety and

depression, eating disorders, substance abuse, self-harm, and suicidality. Shumer

Decl. ¶ 39; Massey Decl. ¶¶ 41–42.

      C.    Georgia’s Ban Interferes with the Safe and Established Standard
            of Care for Treating Gender Dysphoria in Minors.

      The Georgia Legislature passed S.B. 140 on March 21, 2023, and Governor

Brian Kemp signed it into law on March 23, 2023. The Ban becomes effective

July 1, 2023. See S.B. 140, 157th Gen. Assemb., Reg. Sess. (Ga. 2023).




4
 This includes the American Medical Association, the American Academy of
Pediatrics, the American Psychiatric Association, the American Psychological
Association, the Pediatric Endocrine Society, and the Endocrine Society.

                                        11
       Case 1:23-cv-02904-SEG Document 2-1 Filed 06/29/23 Page 14 of 30




      The Ban prevents health care professionals from providing transgender

minors with the established care described above. Specifically, the Ban regulates

hospitals, related institutions, and physicians licensed by the Georgia Composite

Medical Board by prohibiting “irreversible procedures or therapies . . . performed

on a minor for the treatment of gender dysphoria.” 5 Compare S.B. 140 § 2(a), with

S.B. 140 § 3(a). Relevant here, the Ban prohibits “[h]ormone replacement

therapies.” 6 S.B. 140 § 2(a); S.B. 140 § 3(a).

      The Ban directs the Georgia Department of Community Health

(“Department”) to “establish sanctions, by rule and regulation, for violations of this

Code section up to and including the revocation of an institution’s permit issued

pursuant to Code Section 31-7-3.” S.B. 140 § 2(c). 7 The Ban will force health care


5
  The Ban has exceptions for: (1) medical conditions other than gender dysphoria
or for the purpose of sex reassignment if medically necessary; (2) individuals born
with a medically verifiable disorder of sex development; (3) individuals with
partial androgen insensitivity syndrome; and (4) continued treatment of minors
who are, prior to July 1, 2023, being treated with irreversible hormone therapies.
S.B. 140 § 3(b); see also S.B. 140 § 2(b) (citing O.C.G.A. § 43-34-15).
6
  S.B. 140 also prohibits “[s]ex reassignment surgeries, or any other surgical
procedures, that are performed for the purpose of altering primary or secondary
sexual characteristics,” S.B. 140 § 2(a)(1); S.B. 140 § 3(a)(1), but as mentioned
above, because Plaintiffs are not seeking surgical procedures, Plaintiffs’ challenge
is limited to S.B. 140’s prohibition on hormone therapies.
7
  As of this filing, the Department has not established specific sanctions for these
violations. If the Department does not do so by the effective date of the Ban, health
care institutions will face unknown sanctions.

                                          12
       Case 1:23-cv-02904-SEG Document 2-1 Filed 06/29/23 Page 15 of 30




institutions to choose between withholding medically necessary treatment for their

minor transgender patients or facing financial and professional ruin. In addition,

O.C.G.A. § 31-5-8 provides that any person violating the provisions of Title 31

shall be guilty of a misdemeanor, which puts individual health care professionals at

risk of criminal prosecution for providing safe and effective medical care to minor

transgender patients. The Ban further provides that “[a] licensed physician who

violates this Code section shall be held administratively accountable to the

[Georgia Composite Medical Board].” S.B. 140 § 3(c). The Ban will force licensed

physicians to choose between withholding medically necessary treatment from

their transgender patients and jeopardizing their careers and livelihood.

       If the Ban takes effect, it will create a medical scenario never envisioned

when evidence-based protocols pertaining to this care were being created. Schumer

Decl. ¶ 36. Providers will be faced with impossible medical, logistical, and ethical

challenges, while transgender minors and their families will be left without

essential care. Shumer Decl. ¶ 36. The result will be devastating to those families.

III.   ARGUMENT

       To obtain a preliminary injunction, a movant must demonstrate (1) a

“substantial likelihood of success on the merits,” (2) “irreparable injury,” (3) that

the injury “outweighs whatever damage the proposed injunction may cause the



                                          13
       Case 1:23-cv-02904-SEG Document 2-1 Filed 06/29/23 Page 16 of 30




opposing party,” and (4) that “the injunction would not be adverse to the public

interest.” Jones v. Governor of Fla., 950 F.3d 795, 806 (11th Cir. 2020) (per

ciruaim) rev’d en banc, 975 F.3d 1016 (11th Cir. 2020). A court may issue a

temporary restraining order to “preserve the status quo until the merits of the

controversy can be fully and fairly adjudicated.” CCA & B, LLC v. Anhui Subang

Energy Conservation Tech. Co., 2023 WL 3627885, at *1 (N.D. Ga. Feb. 3, 2023)

(citing Suntrust Bank v. Houghton Mifflin Co., 268 F.3d 1257 (11th Cir. 2001))

(internal quotation marks omitted). A party requesting a temporary restraining

order must demonstrate the same four factors. Schiavo ex rel. Schindler v. Schiavo,

403 F.3d 1223, 1225–26 (11th Cir. 2005) (per curiam)).

      These factors strongly support entry of a preliminary injunction in this case.

If the Court is unable to rule on the merits of Plaintiffs’ preliminary injunction

motion before July 1, 2023, the effective date of the Ban, these factors also warrant

entry of a temporary restraining order. It is in the public interest to preserve the

status quo and continue to allow parents of transgender minors in Georgia to seek,

and transgender minors in Georgia to access, essential, life-affirming medical care.

      A.     Plaintiffs Will Likely Succeed on the Merits of Their Claims
             Because the Ban Is Unconstitutional.

      Plaintiffs are likely to succeed on the merits. The Ban does not advance any

important state interests, but infringes parents’ constitutional right to make medical

                                          14
       Case 1:23-cv-02904-SEG Document 2-1 Filed 06/29/23 Page 17 of 30




decisions for their minor children and singles out transgender minors for unequal

treatment. Federal courts reviewing other states’ similar bans on gender-affirming

medical care have come to this conclusion and issued preliminary injunctions. 8

This Court should do the same.

             1.     The Ban Infringes Parental Autonomy by Preventing Parents
                    from Obtaining Essential Medical Care for Their Children
                    (Count I).

      The Ban violates the Due Process Clause of the Fourteenth Amendment to

the United States Constitution. U.S. Const. amend. XIV. The Due Process Clause

affords parents the right to make decisions “concerning the care, custody, and

control of their children.” Troxel v. Granville, 530 U.S. 57, 66 (2000) (plurality

op.). As the Supreme Court has emphasized, this right is “perhaps the oldest of the

fundamental liberty interests recognized by this Court,” and presumes—

appropriately—that “fit parents act in the best interests of their children.” Id. at 65,


8
  See Brandt, 551 F. Supp. 3d at 891 (enjoining Arkansas’s ban) (After a bench
trial, the Eastern District of Arkansas permanently enjoined Arkansas’ ban on
gender-affirming medical care, finding that the law violates parents’ due process
rights and impermissibly discriminates against transgender minors on the basis of
sex and transgender status. See Findings of Fact and Conclusions of Law at 64–67,
74–76; Brandt v. Rutledge, No. 4:21-cv-00450 (E.D. Ark. June 20, 2023) (ECF
No. 283) (“Arkansas Decision”)); Eknes-Tucker, 603 F. Supp. 3d at 1138, 1145,
1148 (enjoining Alabama’s ban); Ladapo, 2023 WL 3833848, at *10–11
(enjoining Florida’s ban); Med. Licensing Bd. of Ind., 2023 WL 2895628, at *1
(enjoining Indiana’s ban); Kentucky Order at 15 (enjoining Kentucky’s ban);
Tennessee Order at 68–69 (enjoining Tennessee’s ban).

                                           15
       Case 1:23-cv-02904-SEG Document 2-1 Filed 06/29/23 Page 18 of 30




66, 68–69; see also Parham v. J.R., 442 U.S. 584, 602 (1979) (collecting cases). A

law that substantially interferes with this right is subject to strict scrutiny. Lofton v.

Sec’y of Dep’t of Child. & Fam. Servs., 358 F.3d 804, 815 (11th Cir. 2004).

      The ability to make medical decisions in a child’s best interest is a critical

aspect of this right. The law recognizes that in almost all cases, the government is

no substitute for a fit parent’s judgment “concerning the growth, development, and

upbringing of their children.” Bendiburg v. Dempsey, 909 F.2d 463, 470 (11th Cir.

1990) (internal quotation marks omitted). A state cannot “willfully disregard the

right of parents to generally make decisions concerning the [medical] treatment to

be given to their children.” Id.

      The Ban strips parents of this constitutional right. It prohibits them from

making medical choices that protect their children from the anguish of prolonged

gender dysphoria, despite the availability of medically appropriate and safe

treatment. The Constitution does not tolerate this intrusion on parental liberty. See

Arkansas Decision at 76 (finding that Arkansas’s ban on gender-affirming medical

care took away “parents’ fundamental right to provide healthcare for their children

and [gave] that right to the [] Legislature”); Eknes-Tucker, 603 F. Supp. 3d at 1146

(“Parents [and physicians]—not the State or this Court—are best qualified to




                                           16
       Case 1:23-cv-02904-SEG Document 2-1 Filed 06/29/23 Page 19 of 30




determine whether [gender-affirming medications] are in a child’s best interest on

a case-by-case basis.”).

             2.    The Ban Violates Equal Protection by Barring Medical
                   Treatments for Transgender Minors (Count II).

      The Ban also violates the Fourteenth Amendment’s Equal Protection Clause.

U.S. Const. amend. XIV. The Ban discriminates on the basis of sex and

transgender status and is subject to intermediate scrutiny. Because the Ban cannot

meet even rational basis review, much less intermediate scrutiny, Plaintiffs have a

substantial likelihood of succeeding on this claim. Indeed, several other federal

courts have rightly concluded that similar laws violate the Equal Protection

Clause. 9

                   a.      The Ban Is Subject to Heightened Scrutiny Because It
                           Denies Medical Treatment to Minors on the Basis of Sex
                           and Transgender Status.

      A law that draws a line based on sex is subject to intermediate scrutiny.

Adams v. Sch. Bd. of St. Johns Cnty., 57 F.4th 791, 801 (11th Cir. 2022) (en banc).

“If one must know the sex of a person to know whether or how a provision applies

to the person, the provision draws a line based on sex.” Ladapo, 2023 WL



9
 See Eknes-Tucker, 603 F. Supp. 3d at 1131; Ladapo, 2023 WL 3833848, at *10;
Med. Licensing Bd. of Ind., 2023 WL 2895628, at *1; Kentucky Order at 10;
Tennessee Order at 14.

                                         17
      Case 1:23-cv-02904-SEG Document 2-1 Filed 06/29/23 Page 20 of 30




3833848, at *8 (citing Bostock v. Clayton Cnty., Ga., 140 S. Ct. 1731, 1737

(2020)).

      The Ban draws that line. To lawfully prescribe hormone therapy to a minor

in Georgia, a physician must know the minor’s natal sex. If the minor’s natal sex is

female, the physician cannot prescribe testosterone. But if the minor’s natal sex is

male, the physician can do so. This is a textbook example of sex-based

discrimination. See Arkansas Decision at 64 (the ban “discriminates on the basis of

sex because a minor’s sex at birth determines whether the minor can receive

certain types of medical care under the law”); Ladapo, 2023 WL 3833848, at *19.

      The Ban also discriminates on the basis of sex for another reason—it targets

transgender individuals, which courts agree constitutes sex-based discrimination.

Glenn v. Brumby, 663 F.3d 1313, 1316 (11th Cir. 2011). As the Supreme Court

recently instructed, “discrimination based on . . . transgender status necessarily

entails discrimination based on sex.” Bostock, 140 S. Ct. at 1747. Accordingly,

“classification based on an individual’s gender nonconformity” implicates the

Equal Protection Clause. Eknes-Tucker, 603 F. Supp. 3d at 1147. The Ban is

discriminatory on its face. It prohibits “procedures or therapies . . . performed on a

minor for the treatment of gender dysphoria.” S.B. 140 § 2(a) (emphasis added). It

targets safe, effective, and medically necessary treatment provided to minors on the


                                          18
       Case 1:23-cv-02904-SEG Document 2-1 Filed 06/29/23 Page 21 of 30




sole basis of their transgender status, denying them treatment that would be lawful

for their non-transgender peers.

      Heightened review is appropriate here for yet another reason. Even if

considered as an independent classification, discrimination based on sex meets the

criteria for suspect classification. See Frontiero v. Richardson, 411 U.S. 677, 686

(1973). As many courts across the country have held, transgender people are

members of a suspect class. They have suffered a history of discrimination; being

transgender is an immutable trait; and they lack the political power to achieve full

equality through the political process. 10

      Because the Ban discriminates on the basis of sex and transgender status, the

State must demonstrate that “the [challenged] classification serves important

governmental objectives and that the discriminatory means employed are

substantially related to the achievement of those objectives.” United States v.

Virginia, 518 U.S. 515, 524 (1996) (internal quotation marks omitted). The

justification for the classification must be “exceedingly persuasive,” id., and cannot




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  E.g., Whitaker v. Kenosha Unified Sch. Dist. No. 1 Bd. Of Educ., 858 F.3d 1034,
1051 (7th Cir. 2017); Toomey v. Arizona, 2019 WL 7172144, at *8 (D. Ariz. Dec.
23, 2019). F.V. v. Barron, 286 F. Supp. 3d 1131, 1145 (D. Idaho 2018) Bd. of
Educ. Highland Local Sch. Dist. v. U.S. Dep’t of Educ., 208 F. Supp. 3d 850, 874
(S.D. Ohio 2016).

                                             19
       Case 1:23-cv-02904-SEG Document 2-1 Filed 06/29/23 Page 22 of 30




“rely on overbroad generalizations.” Sessions v. Morales-Santana, 582 U.S. 46, 62

(2017). Post hoc justifications will not suffice. Id. at 70. The State cannot make

this showing.

                    b.     Defendants Cannot Establish That Their Asserted
                           Justifications Serve Important Governmental Objectives.

      Georgia lacks any legitimate interest in enforcing S.B. 140, much less the

type of important government interest necessary for a law to survive heightened

scrutiny. The State’s justifications for the Ban have no basis in medical science and

undermine, rather than advance, its purported goal of protecting children.

      For example, the Ban names an “unexplained rise in diagnoses of gender

dysphoria” as one legislative finding underpinning S.B. 140 § (1)(1). Although a

diagnosis of gender dysphoria remains rare, there is an obvious explanation for any

perceived “rise in diagnoses”: a reduction in stigma and mistreatment of the

condition. See Shumer Decl.¶ 39. In the past, mental health professionals

unsuccessfully sought to treat gender dysphoria by trying to change the person’s

gender identity to match their natal sex. Id. ¶ 27. Today, the profession recognizes

that such efforts put transgender individuals at risk of harm, including dramatically

increased rates of suicide. Id. ¶¶ 27.

      The General Assembly further attempts to justify the Ban by arguing that a

“wait-and-see” approach to treating gender dysphoria in minors “do[es] no harm.”

                                         20
      Case 1:23-cv-02904-SEG Document 2-1 Filed 06/29/23 Page 23 of 30




S.B. 140 § (1)(6). But the clinical evidence shows that forcing minors to wait until

adulthood to pursue gender-affirming medical care will likely lead to a significant

increase in mental health issues for transgender minors in Georgia. Shumer Decl.

¶¶ 64, 99; Massey Decl. ¶ 29. For instance, a study comparing over 21,000 patients

who desired gender-affirming hormone care found that those who were able to

access this care had lower odds of suicidality within a year than those who were

not. Id. ¶ 99. In addition, indefinitely delaying puberty without a path to hormone

therapy is contrary to global medical practices. Id. ¶ 35–36.

      The Ban also fails heightened scrutiny because it deprives Minor Plaintiffs

of established medical care to treat a serious medical condition. The irrationality—

and harmfulness—of that result is underscored by the fact that the Ban permits

minors who are already receiving hormone therapy to continue doing so. If the

banned medications are safe and effective for minors already receiving them to

continue treatment, there is no legitimate reason to prohibit those treatments for

youth with the same medical condition simply because they have yet to start

treatment. This discrepancy defies logic and confirms that the justifications are

nothing more than post hoc rationalizations for impermissible discrimination.

      The Ban does not protect children; it harms transgender minors by taking

away the safe and effective medical care that will help them grow into healthy and


                                         21
      Case 1:23-cv-02904-SEG Document 2-1 Filed 06/29/23 Page 24 of 30




happy adults. The State cannot demonstrate that the Ban can survive even a

cursory review, much less the heightened scrutiny that applies here.

      B.     The Ban Will Cause Immediate, Irreparable Harm to Plaintiffs.

      Plaintiffs will suffer immediate and irreparable constitutional, medical,

emotional, and psychological injury unless the Ban is enjoined. The Ban harms

Parent Plaintiffs and TransParent members by preventing them from obtaining safe

and time-sensitive medical care for their children. Like other parents, Parent

Plaintiffs and TransParent members want to be able to obtain medical care that

their children’s treating physicians recommend—and that the parents agree is

essential to their children’s well-being. The denial of this choice is a serious and

irreparable harm. See Eknes-Tucker, 603 F. Supp. 3d at 1148, 1150 (finding parent

plaintiffs demonstrated imminent irreparable harm where gender-affirming care

ban prevented them “from treating their children . . . subject to medically accepted

standards”); Brandt, 551 F. Supp. 3d at 892–93 (“Parent Plaintiffs face the

irreparable harm of having to watch their children experience physical and

emotional pain[.]”). Additionally, Parent Plaintiffs and TransParent’s members

face the immediate and irreparable harm of having to seriously consider uprooting

their families from Georgia in order to access necessary medical care for their

children.



                                          22
      Case 1:23-cv-02904-SEG Document 2-1 Filed 06/29/23 Page 25 of 30




      Second, the Ban deprives Minor Plaintiffs of necessary care for a serious

medical condition. Courts have consistently recognized that denial of medically

necessary care is sufficient to show immediate and irreparable harm. 11 Due to the

nature of gender dysphoria and its time-sensitive treatments, every day Plaintiff

Minors are unable to obtain the medical care they need or are unable to plan for

future receipt of that care has a detrimental effect on their immediate and long-term

health. Without gender-affirming treatment, Amy Koe will not be able to go

through puberty in alignment with her gender identity, causing devastating

physical and psychological consequences as a result. Koe Decl. ¶ 17. Tori Moe,

who is currently on puberty-blocking medication and would start hormone therapy

in the near future, will be unable to do so—which will exacerbate her gender

dysphoria. Moe Decl. ¶ 12–16. Mia Voe and Lisa Zoe have both socially

transitioned and are thriving as a result but will be unable to access medical

treatments to continue on the path toward health and happiness. Voe Decl. ¶¶ 9–11,

13–15, 18–21; Zoe Decl. ¶¶ 3, 10–14, 19, 22–24.




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  See, e.g., Bowen v. City of New York, 476 U.S. 467, 483–84 (1986) (finding
denial of benefits caused irreparable injury by exposing plaintiffs to “severe
medical setback[s])”; Gayle v. Meade, 614 F. Supp. 3d 1175, 1206–07 (S.D. Fla.
2020) (increased likelihood of serious illness constitutes an irreparable injury).

                                         23
      Case 1:23-cv-02904-SEG Document 2-1 Filed 06/29/23 Page 26 of 30




      These harms are imminent, serious, and irreparable—and potentially life-

threatening. See Shumer Decl. ¶ 42; Massey Decl. ¶¶ 29, 50–52. As another court

recently put it, without gender-affirming medical treatment, “[n]ot all adolescents

with gender dysphoria will live to age 18.” Arkansas Decision at 49.

      C.     The Equities Weigh in Favor of Injunctive Relief.

      The balance of the equities strongly favors an injunction. The Ban will

needlessly cause irreparable harm by stripping parents of their fundamental right to

make choices that allow their children to thrive, and denying children access to

safe, effective, and necessary medical care. An injunction would prevent these

harms by maintaining the status quo while Plaintiffs pursue this challenge.

      The state of Georgia, meanwhile, will not be harmed by an injunction.

Enforcing an unconstitutional law is not a legitimate government interest. Otto v.

City of Boca Raton, 981 F.3d 854, 870 (11th Cir. 2020). And as another court in

this Circuit observed, enjoining a law banning gender-affirming medical treatments

“will affect the patients themselves, nobody else, and will cause the defendants no

harm.” Ladapo, 2023 WL 3833848, at *16.

      D.     A Preliminary Injunction Is in the Public Interest.

      Finally, an injunction would not be adverse to the public interest. “To the

contrary, enjoining [the Ban] upholds and reaffirms the enduring American



                                         24
       Case 1:23-cv-02904-SEG Document 2-1 Filed 06/29/23 Page 27 of 30




tradition that parents—not the States or federal courts—play the primary role in

nurturing and caring for their children.” Eknes-Tucker, 603 F. Supp. 3d at 1151

(internal quotation marks omitted). Moreover, “[a]dherence to the Constitution is

always in the public interest.” Ladapo, 2023 WL 3833848, at *16.

IV.   REQUEST FOR RELIEF FROM REQUIREMENT TO POST BOND

      Plaintiffs request an exemption from Rule 65(c). “[T]he amount of security

required by [Rule 65(c)] is a matter within the discretion of the trial court . . . [and]

the court may elect to require no security at all.” BellSouth Telecomms., Inc. v.

MCIMetro Access Transmission Servs., LLC, 425 F.3d 964, 971 (11th Cir. 2005).

Waiving the bond requirement is particularly appropriate in public interest

litigation, where Plaintiffs allege the infringement of their constitutional rights. Id.

V.    CONCLUSION

      For the foregoing reasons, this Court should enjoin the enforcement of the

Ban while this lawsuit is pending. Plaintiffs further request the Court enter a

temporary restraining order if the Court is unable to rule on Plaintiffs’ preliminary

injunction motion before July 1, 2023, when the Ban is scheduled to take effect.

      Respectfully submitted this 29th day of June, 2023.



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                                           25
     Case 1:23-cv-02904-SEG Document 2-1 Filed 06/29/23 Page 28 of 30




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                                     26
      Case 1:23-cv-02904-SEG Document 2-1 Filed 06/29/23 Page 29 of 30




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                                    27
      Case 1:23-cv-02904-SEG Document 2-1 Filed 06/29/23 Page 30 of 30




                         CERTIFICATE OF SERVICE

      I hereby certify that, on June 29, 2023, I electronically filed the foregoing

with the Clerk of the Court by using the CM/ECF system. There is currently no

Counsel of Record for Defendants, and so I certify that I will serve the foregoing

on Defendants along with the Complaint.

                                              /s/ Elizabeth Littrell
                                                  Elizabeth Littrell




                                         28
